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                                                                              FILED
                  IN THE UNITED STATES DISTRICT COURT
                                                                               SEP 2 9 2015
                      FOR THE DISTRICT OF MONTANA
                                                                           Clerk., u.s 0 . .
                           MISSOULA DIVISION                                 District Of Mlstnct Court
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 UNITED STATES OF AMERICA,                             CR 15-16-M-DLC

                     Plaintiff,
                                                      FINDINGS AND
        vs.                                         RECOMMENDATION
                                                    CONCERNING PLEA
 NATHAN GLEN KIRKLAND,

                     Defendant.




      The Defendant, by consent, has appeared before me under Fed. R. Crim. P.

11 and has entered a plea of guilty to one count of the possession with the intent to

distribute methamphetamine in violation of21 U.S.C. § 841(a)(l) (Count III), as

set forth in the Superseding Indictment. Defendant further agrees to the forfeiture

of $24,950 in United States currency as specified in the Plea Agreement. In

exchange for Defendant's plea, the United States has agreed to dismiss Counts I

and II of the Superseding Indictment.

      After examining the Defendant under oath, I have made the following

determinations:

      1. That the Defendant is fully competent and capable of entering an


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informed and voluntary plea to the criminal offense charged against him, and an

informed and voluntary admission to the allegation of forfeiture;

       2. That the Defendant is aware of the nature of the charge against him and

the consequences of pleading guilty to the charge;

       3. That the Defendant understands the allegation of forfeiture and the

consequences of admitting to the allegation;

       4. That the Defendant fully understands his constitutional rights, and the

extent to which he is waiving those rights by pleading guilty to the criminal

offense charged against him, and admitting to the allegation of forfeiture;

       5. That both his plea of guilty to the criminal offense charged against him

and his admission to the allegation of forfeiture are knowingly and voluntarily

entered, and are both supported by independent factual grounds sufficient to prove

each of the essential elements of the criminal offense charged and the legal basis

for the forfeiture.

       The Court further concludes that the Defendant had adequate time to review

the Plea Agreement with counsel, that he fully understands each and every

provision of the agreement and that all of the statements in the Plea Agreement are

true. Therefore, I recommend that the Defendant be adjudged guilty Count III of

the Superseding Indictment, and that sentence be imposed. I further recommend


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that Counts I and II of the Superseding Indictment be dismissed. I further

recommend the agreed forfeiture be imposed against Defendant.

      This report is forwarded with the recommendation that the Court defer

a decision regarding acceptance until the Court has reviewed the Plea

Agreement and the presentence report.

      DATED this 29th day of September, 2015.




                                       e miah C. Lynch
                                         ited States Magistrate Judge




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